Case 8:19-cv-01944-SAG Document 261-2 Filed 05/04/25 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

J.O-P., et al. «

Plaintiff,

8:19-cv-01944-SAG

vV. Case No.

U.S. Department of Homeland Security, et al.

Defendant. *

NOTICE OF FILING OF DOCUMENT UNDER SEAL
Check one.

O Exhibit which is an attachment to

will be electronically filed under seal within 24 hours of the filing of this Notice.

~™ Exhibit A, Indicative Asylum Decision

(title of document)

will be electronically filed under seal within 24 hours of the filing of this Notice.

I certify that at the same time I am filing this Notice, I will serve copies of the document

email to Kevin DeJong; Brian Burgess; Elaine Blais; Rebecca Scholtz; Michelle Mendez; Kristin Jackson; Mary Ross; and Wendy Wylegala

identified above by.
9/4/2025 /s/Richard Ingebretsen
Date Signature

Richard Ingebretsen, DC 1736200

Printed Name and Bar Number

PO Box 868 Ben Franklin Station, Washington, DC 20044

Address
richard.ingebretsen@usdoj.gov

Email Address

(202) 616-4848

Telephone Number

(202) 305-7000

Fax Number

NoticeofFilingofDocumentUnderSeal (11/2017)
